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TRUL|NCS 27328058 - DAVEY, JONATHAN D - Unit: ELK-C-B

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FROM: 27328058

TO: Case: 1:19-cv-00106
SUBJECT: FO|A Comp|aint Assigned T0 ; Unassigrled
DATE: 01/02/2019 04;56:30 Plvl Assign_ gate : 1/7/2019

Description: FOiA/Privacy Act (l-DECK)

UN|TED STATES D|STRiCT COURT
D|STRICT OF COLUi\/|BiA

 

Jonathan Davey,
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Piaintiff Ri‘ccr;r\l:`n"'“"'"- l

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V. .*

United States
Department of Justice
Federai Bureau of investigation -“"l~’"i‘»U-l.'at-r.-u c. . - l

v U_S_ j)_.i ft l'- _-|\_ritul(_m,
Defendant "* H¢l culrt. I]lhim'tni'{,‘r)iul;rtihl:r

   

 

Compiaint seeking Disclosure of Agency Records Pertaining to Piaintiff and improperly Withhe|d

 

Complaint:

This is an action under the Freedom of information Act (FO|A), 5 USC Sec. 552, for injunctive and other appropriate relief and
seeking the disclosure and release of agency records pertaining to Piaintiff, Jonathan Davey, improperly withheld from him by
the Federai Bureau of investigation (FB|).

Jurisdiction and Venue:
This Court has both subject matter jurisdiction over this action and personal jurisdiction over the parties pursuant to 5 USC Sec.
552(a)(4)(B). This Court also has jurisdiction over this action pursuant to 28 USC Sec. 1331. Venue lies in the district under 5

usc sec. 552(a)(4)(B). »

Parties:

Piaintiff is an inmate of the Federai Bureau of Prisons at FCl-Elkton, Ohio. Defendant, the FB|, is under the Department of
Justice of the Executive Branch of the United States Government, and includes the FB|. The FB| is an agency within the
meaning of 5 USC Sec. 552 (f).

Facts:

1) By letter dated March 6, 2017 addressed to the FB|'s Reoordi|nformation Seotion, 935 Pennsyivania Avenue, NW.
Washington, DC 20535, Piaintiff requested copies of all records pertaining to himself and the criminal case no:3:12-cr-00068-
RJC in the Westem District of North Carolina, Chariotte Division. Piaintiff requested ali emaiis, text messages, and other written
correspondence related to the Black Diamond Ponzi scheme for the period ofJanuary 1. 2009 to December 31, 2010.

2) By letter dated August 28, 2017 from David Hardy, FB| Section Chief of Reoords and Dissemination, Mr. Hardy advised
Piaintiff that his FO|A request had been received, the search criteria processedl and that the FB| had located 7.638 pages
potentially responsive to his request Mr. Hardy further advised Piaintiff that the duplicating costs and release of 16 CDs
containing the ?.638 pages would be $235. Mr. Hardy requested a response either indicating a willingness to pay the
duplicating fee or narrowing the scope of the request Piaintiff‘s FOIA request was assigned the following FO|PA numbers:
1370106-000 & 1370106-001.

3) By letter dated September 14, 2017 to Mr. Hardy, Piaintiff requested more information on the results of the search criteria in
order to reduce the scope and volume of the responsive pages.

4) By letter dated September 25, 2017 from Mr. Hardy, Piaintiff received essentially a duplicate letter of the one Mr. Hardy j
issued to Piaintiff on August 28, 2017.

 
 
    

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5) By letter dated June 4, 2018 to i\/ir. Hardy, Piaintiff requested a status update on his FOlA request.
6) By letter dated June 14, 2018 from Mr. Hardy, Piaintiff was informed that his FOlA request had been administratively ciosed.

7) By letter dated Juiy 24, 2018 to the Department of Justlce's Director of information Poiicy, 1425 New York Avenue, NW.
Suite 11050, Washington, DC 20530-0001. Piaintiff appealed the decision of the FBi to administratively close his FOlA request.
Piaintiff also agreed to pay the duplication costs of $235 if his appeal was successfui. Piaintist appeal was assigned the
following numbers: DOJ»AP-2018-007736 & DOJ-AP-2018-007737.

8) By letter dated Juiy 30, 2018 to Mr. Hardy, Piaintiff indicated that he was willing to pay the $235 duplicating costs for the 16
CDs and provided a residential address to receive the CDs.

9) By letter dated September 14, 2018 from |Vlatthew Hurdl Chief for Sean O'Neili1 Chief Administrative Appeals Staff, Piaintiff
received notice that Mr. Hurd was affirming the FBl's action on Piaintiff‘s request. The FBi claimed an exemption under 5 USC
Sec. 552(b)(7){A). The FBi provided no further information as to why this blanket exemption covered all 7,638 pages

10) By letter dated October 5. 2018 to the Office of Governrnent information Servioes (OGlS), 8601 Adeiphia Road, Room
2510, Coliege Parir, MD 20740-6001. Piaintiff requested mediation services to resolve the denial of his FOlA request in hopes
of avoiding litigation. Piaintiff stated that FOlA mandates a strong presumption in favor of disclosure and exemptions are to be
narrowly construed Furtherl this Court has already noted that "individua|s already publicly identified as having been charged or
convicted...have a diminished privacy interest...and therefore the categorical rule of non-disclosure...does not appiy." Citizens
For Responsibiiity and Ethics in Washington v. United States DOJ. 854 F.3d 675l 682 (DC Cirol 2017).

11) By letter dated October 23, 2018 from the OG|S, Piaintiff was requested to submit ali previous correspondence with the FBi
regarding his FOlA request.

12) By letter dated November 7, 2018 to the OG|S, Piaintiff responded to OGlS's request and enclosed the requested
correspondence which included five attachmentsl

13) By letter of December 3, 2018 from the OG|S, Piaintiff received notice that OGIS could not provide any further assistance.

14} Thus Piaintiff has exhausted the applicable administrative remedies with respect to his FOlA request. Piaintiff has a right of
prompt access to the requested records under 5 USC Sec. 552 (a](S)(!-\) and the FBi has wrongfully withheld the sought-after
documents Further, the FBi has ignored the clear direction of this Court's previously ruling.

Requested Relief:

Wherefore, Piaintiff prays that this Court:

1. order Defendant to disclose the requested records in their entireties and make copies available to Piaintiff;
2. provide for expeditious proceedings in this action;

3. award Piaintiff his costs and reasonable attorney fees incurred in this action; and

4. grant such other relief as the Court may deem just and proper.

oated: T>'Qc\o.j;y 3 sets

Respectfully Submi ted.

Jonathan Davey, pro
Reg.#: 27328-058
FCl-E|kton, OH

PO Box 10

Llsbon, OH 44432

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*** CERT|F|CATE OF SERV|CE ***

 

 

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On this day, :§;tc\ytgg>| §§ . l did place a true and accurate copy of this Complaint in the prison legal mail system, postage
prepaid, for delivery tot e fo iowing address:

UN|TED STATES DiSTRiCT COLJRT OF COLUMB|A
333 Constitution Avenue NW

Room 1225

Washington, DC 20001

JonathadDave§/', nw

